Phi/adelphia Pem:érmfp/MM&NFSAHP§§WHBW F"€O' 06/05/17 Pa@elofz page1of2PARs

 

 

 

 

Defendant: ',:,:1€; COLL|NS Sex: Male SSN: XXX-XX-XXXX DOB: 04/22/1980
:?$e= RlCHARD R§'i'i‘§'.? Race: white Birth Place: Phi|adelphia
Add|’93319101 BLUE GRASS RD Phi|adelphia PA 19114-0000 Phone #: 215-000-0000
Year: 2013 District: 15 DC#: 13.15_026895 Sector: 3 Ctr|#: 04373
PID: 0797955 S|D: 2410-1761 OTN: N8536964 Event:121414739 CBN: 1199890
Crime C|ass: 310 Desc; R¢,|;,beryl commercial Estab_, by Handgun Authority:Phi|ade|phia Po|ice Department
DFJ¢ N FB| / FlD;409732x53
Arrest Name: DOB: 00/00/0000 SSN:

Address given to PPD: 9101 BLUE GRASS RD Phi|adelphia PA 19114
ARREST |NFORMATION:

Date/ Time: 03/23/2013 07:49PM District: 15 |nside/Outside: O Arrest Type: SA
7500 TORRESDALE AV Phi|adelphia PA19124-
S|ating Date: 03/24/2013 S|ating Time: 02:31AM SumNVarr: |ssued By AC Magistrate:
OCCURRENCE:
Date / Time: 03/23/2013 07:49PM Date reported: 03/23/2013 07:49PM |nside/Outside: l Codefendants?: N
4542 COTTMAN AV AV Phi|adelphia PA 19124-
FACTS OF THE CASE:

ON SATURDAY MARCH 23, 2013, AT APPROX. 7:43PM,THE COMPLA|NANT.X|U MEI XA|O, OWNER OF RED SUN FOOD MARKET, LOCATED AT 4542
COTTMAN AVE, STATES SHE WAS WORK|NG BEH|ND THE COUNTER WHEN THE DEFENDANT,LATER |DENT|F|ED AS RlCHARD COLL|NS, CAME |N
THE STORE, APPROACHED THE COUNTER, THREW A QUARTER ON THE COUNTER AND GRABBED SOME M|KE N IKES CANDY. THE DEFENDNAT
THEN PULLED OUT A BLACK HAND GUN, PO|NTED |T AT THE COMPLA|NANT. AND DEMANDED SHE OPEN THE CASH REG|STER. THE COMPL.
STATES WH|LE SHE ATTEMPTED TO OPEN THE CASH REG|STER THE DEFENDANT BECAME ANGRY AND ATTEMPTED TO OPEN |T H|MSELF. THE
DEFENDANT THEN PO|NTED THE HANDGUN AT THE COMPL. AND PULLED THE TR|GGER SEVERAL T|MES AS |F HE WAS ATTEMPTING TO SHOOT
HER AND HELD THE WEAPON AS |F HE WANTED TO H|T HER W|TH lT. THE COMPLA|NANT STATES AT THAT POINT SHE NOT|CED THE GUN
WASN'T REAL. THE COMPLA|NANT BEGAN TO FIGHT THE DEFENDANT OFF AS HE YANKED AT THE CASH REG|STER. THE DEFENDANT THEN
PULLED THE CASH REG|STER FREE AND FLED THE STORE. M|NUTES LATER, AS A RESULT OF FLASH |NFO RELAYED OVER POL|CE RAD|O, P/O
BERKERY #9464 STOPPED THE DEFENDANT ON THE 7500 BLOCK OF TORRESDALE AVE, WHERE HE WAS POSIT|VELY |DENT|F|ED BY THE
COMPLA|NANT. THE DEFENDANT WAS PLACED |N CUSTODY AND TRANSPORTED TO 15TH DISTRICT CCTV.

PIO APOSTOLOU#7142 AND P/O BURGOON#9314 LOCATED THE DEFENDANTS TAN COAT CONTA|N|NG THE PLAST|C HANDGUN ON THE
S|DEWALK AT 4565 ALD|NE ST. (ALD|NE & D|TMAN)

P/O MANES#2211 AND P/O NOD|FF #1925 LOCATED THE CASH REG|STER ON THE S|DEWALK AT 4556 TEESDALE ST. (TEESDALE & D|TMAN)

THE ASS|GNEDl DET. SCOTT #7603l RESPONDED, PHOTOGRAPHED THE SCENESl AND MADE A COPY OF THE |NC|DENT WH|CH WAS CAUGHT
ON STORE SURVE|LLANCE V|DEO. AT HEADQUARTERS THE ASS|GNED RECOVERED $93.00 AND DARK BLUE N|KE SNEAKERS W|TH WH|TE
SWOOSH AND SOLE FROM THE DEFENDANT. THE DEFENDANT'S SNEAKERS MATCHED THOSE WORN |N STORE VIDEO. DET.
MCREYNOLDS#8107 RECOVERED 2 LATENT PR|NTS FROM THE BOTTOM OF THE CASH REG|STER AND SUBM|TTED THEM TO RECORDS AND
|DENT|F|CATION.

PR#3090993- TAN POLO COAT W/BROWN FUR ON COLLAR
PR#3090994- ONE BLACK SPORT 105 PLAST|C BB GUN
PR#3090992- ON WH|TE CASH REG|STER

PR#3088458- $93.00 USC

 

 

PR#3088459- A PA|R OF DARK BLUE N|KE SNEAKERS W|TH WH|TE SWOOSH AND WH|TE SOLE
CHARGES:

Code OC Description Grade Counts

CC2702 AGGRAVATED ASSAULT F2 001

CC3701 ROBBERY F3 001

C06106 VUFA-NO L|CENSE F3 001

CC0907 P|C M1 001

CC2706 TERROR|ST|C THREATS l\/|1 001

C03921 THEFT-UNLWF TAK|NG M1 001

CC3925 THEFT-RSP M1 001

CC6108 VUFA-ON STREETS M1 001

CC2701 S|MPLE ASSAULT M2 001

CC2705 REAP M2 001
REQUESTED HEAR|NG DATE: REQUESTED HEAR|NG LOCAT|ON:
04/04/2013 00:00

Rev. 11l1996 NE 03/24/2013 17:20:45

Philadelghia nowé:@a%h¥ér&€we§w@h§rl F"€O' 06/05/17 Pa@ezofz paynon PARS

 

 

Defendantf :,a:,tne; COLL|NS Sex:Male SSN:XXX-XX-XXXX DOBS 04/22/1980
n x ~ . . .
n?me; RlCHARD E“n'ii’i§'.? Race: white Blrch Place: Phi|adelphia
COMPLA|NANTS AND W|TNESSES:
Complainant(s)
X|U ME| X|AO Age: 36 Phone(H): 215-331-2636 Phone(W): 215-000-0000 SSN: - -
4542 COTTMAN AV Phi|adelphia PA 19124-
ARREST REPORT BY: Badge Description Unit |d P|atoon Squad Group ld
235734 SCOTT KEITH KEITH 7603 64 Northeast Detective Division 0 2 B
ARREST REPORT APPROVED BY:
Supervisor- payroll no; FLEM|NG THOMAS 164969 ApprOval Code.' ApprOved
POL|CE PERSONNEL: N d d
Payro|| Vacation Vacation At ::a:ing west
Employee Name Numbe" Badge Dist/Unit Platoon/Group Dates Desc"ipti°" Pollce/Sup OFC.
BERKERY M|CHAEL M|CHAEL 232734 9464 15/0 5E 09/15/2013 to 09/23/2013 Vacation N / N Y
SCOTT KE|TH KE|TH 235734 7603 64/ 0 2B 06/17/2013 to 06/25/2013 Vacation Y / N N
SCOTT KE|TH KE|TH B 07/26/2013 to 08/03/2013 Vacation Y / N N
SCOTT KE|TH KE|TH B 07/28/2013 to 08/05/2013 Vacation Y / N N
SCOTT KE|TH KE|TH B 08/08/2013 to 08/16/2013 Vacation Y / N N
ADD|T|ONAL |NFORMAT|ON:
Hits: Y Statement?; Lab User Fees Requested?: N ADA Concerns?:
EM PLOYER |NFORMAT|ON:
Occupation: UNEMPLOYED Employer: unknown Phone: 215-000-0000

0000 0 unknown 00 APT/Sui!e: 0000 Phi|adelphia PA -
DESCR|PT|VE DATA:

Comp|exion CLEAR Eye Characteristics NORMAL

Eye Co|or GRN Facia| Hair BEARD W_MUSTACHE
Glasses (Y=Yes) 0 Hair Color BLN

Hair Length ABOVE EARS Hair Sty|e STRAIGHT

Teeth NORMAL

Rev. 11l1996 NE 03/24/2013 17:20:45

